Case 5:20-cv-02659-PA-DFM Document 16 Filed 10/27/21 Page 1 of 1 Page ID #:451




                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                                EASTERN DIVISION



  MICHAEL ABNER,                           No. ED CV 20-02659-PA (DFM)

           Petitioner,                     ORDER ACCEPTING REPORT
                                           AND RECOMMENDATION OF
              v.                           UNITED STATES MAGISTRATE
                                           JUDGE
  WARREN L. MONTGOMERY,

           Respondent.



       Under 28 U.S.C. § 636, the Court has reviewed the Petition, the other
 records on file herein, and the Report and Recommendation of the United
 States Magistrate Judge. The Court accepts the report, findings, and
 recommendations of the Magistrate Judge.
       IT IS THEREFORE ORDERED that Judgment be entered dismissing
 the Petition with prejudice.


  Date: October 27, 2021                    ___________________________
                                            PERCY ANDERSON
                                            United States District Judge
